     Case 2:21-cv-00071-PLM-MV ECF No. 5, PageID.54 Filed 05/11/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                       ______

DEJUAN ROBINSON,

                      Plaintiff,                    Case No. 2:21-cv-71

v.                                                  Honorable Paul L. Maloney

ERICA HUSS,

                      Defendant.
____________________________/

                                         JUDGMENT

               In accordance with the opinion issued this date:

               IT IS ORDERED that Plaintiff’s action is DISMISSED WITH PREJUDICE for

failure to state a claim pursuant to 28 U.S.C. §§ 1915(e) and 1915A, and 42 U.S.C. § 1997e(c).



Dated:     May 11, 2021                              /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
